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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    UNITED STATES OF AMERICA,                        No. 2:21-cr-00191 JAM
12                       Plaintiff,
13           v.                                        ORDER
14    LIONEL CHAVEZ,
15                       Defendant.
16

17          The court released defendant Lionel Chavez from the Central District of California on a

18   $5,000 cash bond. (See Minutes, ECF No. 32). That court ordered Lionel Chavez to report to this

19   court for further proceedings. (See Transfer Documents, ECF No. 31). On April 22, 2022, this

20   court received an amount identified as the $5,000 cash bond from the transferring district.

21          The Clerk of Court is ordered to receive these funds into the Court’s Registry for

22   defendant Lionel Chavez.

23          IT IS SO ORDERED.

24   Dated: May 12, 2022

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